    Case 4:11-cv-00149-Y Document 19 Filed 07/28/11   Page 1 of 1 PageID 68


                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                  FORT WORTH DIVISION

RATHBONE, LLC, on behalf of              §
itself and all others similarly          §
situated and on behalf of                §
XTO Energy, Inc.                         §
                                         §
VS.                                      §      ACTION NO. 4:11-CV-149-Y
                                         §
XTO ENERGY, INC., ET AL.                 §

                                   FINAL JUDGMENT

        In accordance with the order issued this same day and Federal

Rule of Civil Procedure 58, all claims are hereby DISMISSED WITHOUT

PREJUDICE to their refiling.           All costs of Court under 28 U.S.C. §

1920 shall be borne by Plaintiff.

        SIGNED July 28, 2011.


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                                             TERRY R. MEANS
                                             UNITED STATES DISTRICT JUDGE




FINAL JUDGMENT - Page Solo
TRM/chr
